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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO


    PUBLIC INTEREST LEGAL FOUNDATION, INC.,

                                                         Plaintiff,
       v.

    JENA GRISWOLD, in her official capacity as                        Civil Case No. ______________
    Secretary of State for the State of Colorado,

                                                       Defendant.


                                     NOTICE OF RELATED CASE

            Pursuant to Local Rule 3.2, Plaintiff notifies the Court of a case potentially related to this

   action: Public Interest Legal Foundation v. Evans, No. 1:21-cv-03180 (D.D.C., filed Dec. 6,

   2021).

                                                            /s/ Noel H. Johnson
                                                           Noel H. Johnson
                                                           Public Interest Legal Foundation, Inc.
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                                                           Indianapolis, IN 46205
                                                           njohnson@publicinterestlegal.org
                                                           Attorney for Plaintiff




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